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IN THE UNITED sTATEs DISTRICT COURT 4_(/@`* __ §

FOR THE WESTERN DISTRICT oF TENNESSEE '~ a `_ 55’ `,0" _. _ \O_O

EAsTERN DLVISION ' '- ' 4' '
ZACHARY ROBBINS, YVONNE )
ROBBINS, and DANNY RoBBlNS )
)
Plaintiffs, )

) NO. 1 :04-1294-JDT~tmp

v. )
)
sUsAN WALLACE and )
HENDERSON COUNTY BOARD )
OF EDUCATION, )
)
Defendants. )

 

ORDER PERMITTING WITHDRAWAL OF COUNSEL

 

Jason B. Rudd and Jon A. York, attorneys for Defendant Susan Wallace, have moved the
Court to permit them to withdraw as counsel in this action. Defendant Susan Wallace consents
to this withdrawal Counsel for the Plaintiffs and Co-Defendarlt do not object to the withdrawal
and Defendant Susan Wallace is currently, and Will continue to be, represented by other counsel
in this matter. Furthermore, withdrawal from this case by Attorneys Jason B. Rudd and J on A.
York will not prejudice the parties and will not cause any delay in this matter. Accordingly,

Attorneys Jason B. Rudd and Jon A. York’s motion to withdraw as counsel in this matter is

T;%

d'UDGE
DATE; fw<O/vdl"'$(_ S'DGFH

GRANTED.

IT lS SO ORDERED.

Thls document entered on the docket eat in compliance
with Rule 58 and,'or_`.'e (a] FF\CP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 1:04-CV-01294 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

R. Dale Thomas

RAINEY KIZER BUTLER REVIERE & BELL
209 East Main Street

Jacl<son7 TN 38302--114

Clinton H. Scott

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jacl<son7 TN 38302--200

Jason B. Rudd

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Russell E. Reviere

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jacl<son7 TN 38302--114

Charles M. Purcell
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jacl<son7 TN 38302--072

J ames Brandon McWherter

SPRAGINS BARNETT COBB & BUTLER
P.O. Box 2004

Jacl<son7 TN 38302--200

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Jennifer Craig
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jacl<son7 TN 38302--072

Lewis L. Cobb

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jacl<son7 TN 38302--200

Honorable J ames Todd
US DISTRICT COURT

